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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

IN RE; PANERA DATA SECURITY                   )
LITIGATION                                    )
                                              )      CASE NO: 4:24CV847 HEA


                  OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on Plaintiffs' Motion to Appoint Interim

Class Counsel, [Doc. No 17]. Defendant has not responded to the Motion.

Plaintiffs move for the appointment of M. Anderson Berry and Ryan D. Maxey

(“Proposed Interim Class Counsel”) as interim co-lead class counsel and appoint

an executive committee consisting of Laura Van Note, Raina Borrelli and Jessica

Wilkes (the “Proposed Executive Committee”)to a Plaintiffs' Leadership

Committee pursuant to Federal Rule of Civil Procedure 23(g).

      Rule 23(g)(3) provides that the court “may designate interim counsel to act

on behalf of a putative class before determining whether to certify the action as a

class action.” When appointing class counsel, interim or otherwise, Rule

23(g)(1)(A) requires the court to consider (1) “the work counsel has done in

identifying or investigating potential claims in the action,” (2) “counsel's

experience in handling class actions, other complex litigation, and the types of

claims asserted in the action,” (3) “counsel's knowledge of the applicable law,” and
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(4) “the resources that counsel will commit to representing the class.” The court

may also consider “any other matter pertinent to counsel's ability to fairly and

adequately represent the interests of the class.” Fed. R. Civ. P. 23(g)(1)(B). The

Manual for Complex Litigation (“The Manual”) provides that the court should

“ensure that counsel appointed to leading roles are qualified and responsible, that

they will fairly and adequately represent all of the parties on their side, and that

their charges will be reasonable.” Coordination in Multiparty Litigation—

Lead/Liaison Counsel and Committees, Ann. Manual Complex Lit. § 10.22 (4th

ed.). “Counsel designated by the court also assume a responsibility to the court and

an obligation to act fairly, efficiently, and economically in the interests of all

parties and parties' counsel.” Id.

      Upon review of the Rule 23(g)(3) factors, the Court finds that the now-

consolidated actions would benefit from interim class counsel for efficient case

management prior to class certification. As demonstrated by their brief and

accompanying resumes, Plaintiffs' Counsel satisfy the requirements for such

appointment by the Court. First, Plaintiffs' Counsel have engaged in sufficient

identification and investigation regarding the potential claims in this present action

by analyzing the circumstances surrounding the data breach, identifying a

document related to Defendant’s data security policies, investigating reports on the

Internet that Defendant may have been the subject of a ransomware attack.


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       Next, as demonstrated by the brief and accompanying resumes, Plaintiffs'

Counsel are extremely experienced and qualified, and each has knowledge of the

applicable law, experience in managing and prosecuting complex class action cases

involving data security and privacy, notable successes against large corporate

defendants, and resources they are willing to expend to litigate this case.

       It is apparent that all counsel have knowledge and expertise in the applicable

law and have resources at their respective law firms they are willing to expend to

litigate these cases.

       The Court finds that appointment of Plaintiff's Counsel as interim class

counsel at this juncture is appropriate under Federal Rule of Civil Procedure 23(g).

       The Court will also create an Executive Committee. Laura Van Note, Raina

Borrelli, Jessica A. Wilkes, are appointed to serve on the said Committee.

       Accordingly,

       IT IS HEREBY ORDERED that Plaintiffs' Motion for Appointment of

Interim Class Counsel, [Doc. No. 17], is granted.

       IT IS FURTHER ORDERED that M. Anderson Berry and Ryan Maxey as

the Proposed Interim Co-Lead Class Counsel

       IT IS FURTHER ORDERED that Laura Van Note, Raina Borrelli and




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Jessica A. Wilkes are appointed to the Executive Committee in this matter.

      Dated this 3rd day of January, 2025.




                               ________________________________
                                  HENRY EDWARD AUTREY
                               UNITED STATES DISTRICT JUDGE




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